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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                 :
                                       : Case No.: 18-14001
Christina Santiago                     : Chapter 13
                                       : Judge Jean K. FitzSimon
                             Debtor(s) : * * * * * * * * * * * * * * * * * * *
                                       :
MidFirst Bank                          : Date and Time of Hearing
                               Movant, : Place of Hearing
       vs                              : February 12, 2020 at 9:30 a.m.
                                       : ___________________________
Christina Santiago                     : U.S. Bankruptcy Court
                                       : 900 Market Street, Courtroom #3
Scott F. Waterman (Chapter 13)         : Philadelphia, PA, 19107
                          Respondents. :


  MOTION FOR RELIEF FROM THE AUTOMATIC STAY TO PERMIT MIDFIRST
  BANK TO FORECLOSE ON 648 OSBORNE AVENUE, MORRISVILLE, PA 19067

        MidFirst Bank (the "Creditor") moves this Court, under Bankruptcy Code §§ 361, 362,

363, and other sections of Title 11 of the United States Code, and under Federal Rules of

Bankruptcy Procedure 4001 and 6007 for an order conditioning, modifying, or dissolving the

automatic stay imposed by Bankruptcy Code § 362 and avers as follows:

        1.     This is an action arising pursuant to a case under Title 11 of the United States

Code.

        2.     Creditor is a lending institution duly authorized to conduct business in the

Commonwealth of Pennsylvania.

        3.     Creditor is a party-in-interest in the above referenced Bankruptcy matter as it is a

secured creditor of the Debtor.

        4.     Christina Santiago (''Debtor'') filed a voluntary petition for relief under Chapter 13

of the Bankruptcy Code on June 15, 2018, ("Petition").




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       5.      Christina M Santiago is currently obligated to MidFirst Bank, under the terms of a

certain Note, dated February 19, 2014, in the original principal amount of $127,543.00 executed

by Christina M Santiago (hereinafter "Note").

       6.      As security for repayment of the Note, Debtor executed a certain Mortgage, dated

of even date and of even amount, currently in favor of MidFirst Bank, with respect to certain real

property owned by the Debtor located at 648 Osborne Avenue, Morrisville, PA 19067

(hereinafter "Mortgaged Premises") and being recorded in Bucks County Recordings Office at

Instrument Number 2014008416 on February 20, 2014 in the Office of the Recorder of Deeds in

and for Bucks County, Pennsylvania ("Mortgage").

       7.      The loan was modified per the terms of the Loan Modification Agreement

(Mortgage) attached here as Exhibit A.

       8.      Debtor has failed to make post-petition mortgage payments for the past 3 months,

as of January 2, 2020.

       9.      Due to said failure by Debtor to make payments when due, Creditor lacks

adequate protection of its security interest in the Mortgaged Premises.

       10.     The total loan balance and the amount past due to MidFirst Bank in post-petition

arrearages less suspense are $125,338.50 and $2,841.76, respectively, as of January 2, 2020.

       11.     The automatic stay of Section 362 of the Bankruptcy Code should be terminated

with respect to the interest of MidFirst Bank in the Mortgaged Premises, pursuant to Section

362(d)(1).

       WHEREFORE, MidFirst Bank respectfully requests this Honorable Court to enter an

order terminating the Automatic Stay as it affects the interest of MidFirst Bank in the Mortgaged




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Premises of the Debtor specifically identified in the Mortgage, and granting such other

relief as this Honorable Court may deem just.


                                                    Respectfully submitted,

                                                     /s/ Karina Velter
                                                    Karina Velter, Esquire (94781)
                                                    Adam B. Hall (323867)
                                                    Sarah E. Barngrover (323972)
                                                    Manley Deas Kochalski LLC
                                                    P.O. Box 165028
                                                    Columbus, OH 43216-5028
                                                    Telephone: 614-220-5611
                                                    Fax: 614-627-8181
                                                    Attorneys for Creditor
                                                    The case attorney for this file is Karina
                                                    Velter.
                                                    Contact email is kvelter@manleydeas.com




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In re:                                 :
                                       : Case No.: 18-14001
Christina Santiago                     : Chapter 13
                                       : Judge Jean K. FitzSimon
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Christina Santiago                     : U.S. Bankruptcy Court
                                       : 900 Market Street, Courtroom #3
Scott F. Waterman (Chapter 13)         : Philadelphia, PA, 19107
                          Respondents. :


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from the

Automatic Stay to permit MidFirst Bank to foreclose on 648 Osborne Avenue, Morrisville, PA

19067 was served on the parties listed below via e-mail notification:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Scott F. Waterman (Chapter 13), Chapter 13 Trustee, Chapter 13 Trustee, 2901 St. Lawrence
   Ave., Suite 100, Reading, PA 19606

   Brad J. Sadek, Attorney for Christina Santiago, Sadek and Cooper, 1315 Walnut Street, Suite
   502, Philadelphia, PA 19107, brad@sadeklaw.com

The below listed parties were served via regular U.S. Mail, postage prepaid, on January 23,
2020:


       Christina Santiago, 648 Osborne Avenue, Morrisville, PA 19067




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      Christina M Santiago, 648 Osborne Avenue, Morrisville, PA 19067



DATE: _January 23, 2020
                                                /s/ Karina Velter
                                               Karina Velter, Esquire (94781)
                                               Adam B. Hall (323867)
                                               Sarah E. Barngrover (323972)
                                               Manley Deas Kochalski LLC
                                               P.O. Box 165028
                                               Columbus, OH 43216-5028
                                               Telephone: 614-220-5611
                                               Fax: 614-627-8181
                                               Attorneys for Creditor
                                               The case attorney for this file is Karina
                                               Velter.
                                               Contact email is kvelter@manleydeas.com




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